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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                          :    CRIMINAL NO.
                                                   :
            v.                                     :    MAGISTRATE NO. 21-MJ-372
                                                   :
 ROBERT CHAPMAN                                    :    VIOLATION:
 AKA ROBERT ERICK,                                 :    40 U.S.C. § 5104(e)(2)(G)
                                                   :    (Parading, Demonstrating, or Picketing in
                       Defendant.                  :    a Capitol Building)


                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, ROBERT CHAPMAN, a/k/a

ROBERT ERICK, willfully and knowingly paraded, demonstrated, and picketed in a Capitol

Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                                       Respectfully submitted,

                                                       MATTHEW M. GRAVES
                                                       United States Attorney
                                                       D.C. Bar No. 481052


                                             By:       /s/ Brittany L. Reed
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